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                                     EXHIBIT A

                                   (Proposed Order)




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

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                                                               :
In re:                                                         : Chapter 11
                                                               :
                                      1
         APPVION, INC., et al.,                                : Case No. 17-12082 (KJC)
                                                               :
         Debtors.                                              : (Jointly Administered)
                                                               :
                                                               : Re D.I.: ___
---------------------------------------------------------------x
           ORDER UNDER 11 U.S.C. § 1121(d) EXTENDING THE EXCLUSIVITY
                        PERIODS FOR THE FILING AND SOLICITATION
                           OF ACCEPTANCES OF A CHAPTER 11 PLAN

        Upon the motion (the “Motion”)2 of the above-captioned debtors (collectively, the

“Debtors”) for entry of an order under section 1121(d) of title 11 of the United States Code (the

“Bankruptcy Code”) extending the period during which the Debtors have the exclusive right to

file a chapter 11 plan to March 30, 2018, and extending the period during which the Debtors may

solicit acceptances of a chapter 11 plan to May 29, 2018; the Court having reviewed the Motion;

the Court having found that (i) the Court has jurisdiction over this matter under 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court

for the District of Delaware, dated February 29, 2012, (ii) venue is proper in this district under 28

U.S.C. §§ 1408 and 1409, (iii) this is a core proceeding under 28 U.S.C. § 157(b), (iv) service

and notice of the Motion was sufficient under the circumstances, and (v) good and sufficient

cause having been shown, and after due deliberation and sufficient cause appearing,

1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Appvion, Inc. (6469), Paperweight Development Corp. (4992), PDC Capital Corporation
(1197), Appvion Receivables Funding I LLC (9218), and APVN Holdings LLC (8543). The corporate headquarters
and the mailing address for the Debtors listed above is 825 East Wisconsin Avenue, P.O. Box 359, Appleton,
Wisconsin 54912.
2
        Capitalized terms not otherwise defined shall have the meanings given to them in the Motion.



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        IT IS HEREBY ORDERED THAT:

        1.         The Motion is GRANTED, as set forth herein.

        2.         The Debtors’ Exclusive Filing Period under section 1121(d) of the Bankruptcy

Code is extended through and including March 30, 2018.

        3.         The Debtors’ Exclusive Solicitation Period under section 1121(d) of the

Bankruptcy Code is extended through and including May 29, 2018.

        4.         The extension of exclusivity granted herein is without prejudice to further

requests that may be made under section 1121(d) of the Bankruptcy Code.

        5.         The Court shall retain jurisdiction over all matters arising from or related to the

interpretation or implementation of this order.


Dated: ___________________, 2018
       Wilmington, Delaware
                                                      THE HONORABLE KEVIN J. CAREY
                                                      UNITED STATES BANKRUPTCY JUDGE




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